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` UNITED STATES DISTRICT COURT

DEC ‘\‘1 2017 soUTHERN DISTRICT oF TEXAS _
McALLEN DIvIsIoN

oavid .\. Brad\ey. Glerk
UNITED STATES oF AMERICA

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GEORGE LOUIS MORENO 1§ .
CRIMINAL INFORMATION

 

THE ACTING UNITED STATES ATTORNEY CHARGES:
_ At‘ all times material to this Criminal lnformation:
THE TEXAS MEDICAID PROGRAM

l. f The Texas Medical Assistance Pro gram also known as the Texas Medicaid program
Was implemented under the provisions of Title XlX of the federal Social Security Act and Chapter
32 of the Texas Human Resources Code, for the purpose of providing j oint state and federal funds
to pay for medical benefits items or medical services furnished to individuals of low income Who
Were qualified and enrolled as Texas Medicaid recipients Texas Medicaid Was a “health care
benefit program” as defined by Title 18, United States Code_, Se'ction 24(b). v

2.`v Texas Medicaid funds Were intended to pay for covered medical services furnished
to Texas Medicaid recipients, by enrolled Texas Medicaid providers, When such medical services
Were furnished in accordance With all of the rules, regulations, and laws Which governed Texas
Medicaid. Covered Texas Medicaid services included medical services and procedures furnished
by_physicians and other health care professionals in their offices; as Well as certain products,
supplies, and services used outside a physician’s office such as diabetic and incontinent supplies,

Which Were commonly known as Durable Medical Equipment (“DME”).

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' ' COUNTAONE
' CON$PIRACY'TO COMMIT HEALTH CARE FRAUD
(18 U.S.C. §§ 1347, 1349)

3. GEORGE |LOUIS MORENO was the operator of a durable medical equipment
company called MARS DME, located within the McAllen Division of the Southem District of /
Texas.

4. From in or about August 2008 to in or about January 2016, inlthe Southern District_-

' of Texas and elsewhere within the jurisdiction of the Court, l

GEORGE LOUIS MORENO
did conspire and agree with other persons, known and unknown, to knowingly and willfully,- in a
violation of Title 18, United States Code,- Section 1347, to execute a scheme and artifice to defraud
the health care benefit program known as Texas Medicai`d, by false or fraudulent pretenses,
representations,. or-promises, any of the money and or property owned by or under the control of
said health care'benefit program in connection with the delivery of or payment for health care 7
benefits, items, and medical services. l

OBJEC'i` OF CONSPIRACY

5. The object and purpose of the conspiracy and scheme was for GEORGE LOUIS
MQRENO_ to unlawfully enrich himself and others by submitting or causing others to submit false
and fraudulent claims to Texas Medicaid. v

n MANNER AND lV[EANS

6. ln order to execute and carry out the illegal activities', GEORGE LOUIS MORENO

conspired with others, known and unknown, and committed, aided and abetted the_cornmission, or

otherwise caused others to commit, one or more of the following acts:

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(a) The Defendant submitted or caused others to submit false or fraudulent claims to
Texas Medicaid for reimbursement of incontinence supplies that were not provided
to beneficiaries `

- (b) The Defendant submitted or caused others to submit false or fraudulent claims to
Texas Medicaid for reimbursement of 1ncont1nence supplies that were only partially
delivered to beneficiaries `

(c) The Defendant submitted or caused others to submit false or fraudulent claims to
Texas Medicaid for reimbursement of higher-reimbursing incontinence Supplies
when lower-reimbursing supplies were actually delivered to beneficiaries

(d) Defendant made, or caused others to make, cash payments to beneficiaries in lieu
of delivering incontinence supplies

(e) In connection with the false and fraudulent claims, caused Texas Medicaid to make
overpayments to MARS DME totaling approximately $1,564,118.68.

All in violation of Title 18, United States Code, Sections 1347 and 1349.
NOTICE OF FORFEITURE
(18 U.S.C. § 982(a)(7))
Pursuant to Title 18, United States Code, Section 982(a)(i), as a result of the criminal
'- offense charged in Count l of this Indictment, the United States of America gives the defendant,
GEORGE LOUIS MORENO
Notice that upon his conviction `of a health care fraud offense, all property, real or personal,
which constitutes or is derived, directly or indirectly, from gross proceeds traceable to such
offense, is subject to forfeiture
Money Judglnent
The defendant is notified that upon conviction, a money judgment may be imposed equal
to the total value of the property subject to forfeiture, which is in the amount of at $1,564,118.68.
- Substitute Assets _
The defendant is notified that in the event that property subject to forfeiture, as a result of

any.act or omission of a defendant,

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_ (A) cannot be located upon the exercise of due _diligence;
'(B) _has been transferred or sold to, or deposited with, a third partyi
(C) has been placed beyond the jurisdiction of the court;
(D) has|been substantially diminished in value; or

(E) has been commingled with other property that cannot be divided without -
difficulty, . - `

the United States will seek to forfeit any other property of the defendant up to the total value of
the property subject to forfeiture, pursuant to Title- 21, 'United States Code, Section 853(p),
v incorporated by reference in Title 18, United States Code, Section 982(b)(l).

- ABE MARTINEZ -
ACTING'UNITED sTATEs ATTORNEY

ANDREW R._ swARTZ\V §

ASSISTANT UNITED STATES ATTORNEY'

 

